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                                   STATEMENT OF FACTS

       Your affiant, Special Agent Jonathan Stewart with the Federal Bureau of Investigation
(“FBI”) is assigned to the Joint Terrorism Task Force (JTTF) in Baltimore, MD. In my duties
as a special agent, I investigate criminal violations related to Domestic Terrorism. Currently, I
am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the U.S. House of Representatives and the U.S. Senate were meeting in separate
chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the House and the Senate,
including the President of the Senate, Vice President Mike Pence, were instructed to—and did—
evacuate the chambers. Accordingly, the joint session of the U.S. Congress was effectively
suspended until shortly after 8:00 p.m. Vice President Pence remained in the U.S. Capitol from
the time he was evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
 appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 6, 2021, a tipster submitted a tip to the FBI National Threat Operations Center
regarding an Alaska resident named Aaron James Mileur. According to the tipster, Mileur posted
photos and video footage of himself inside the U.S. Capitol Building on Facebook from January
6, 2021. FBI agents interviewed the tipster and obtained screenshots of the Facebook photos and
videos of Mileur inside the U.S. Capitol building. Among these photos was a Facebook post
depicting Mileur (on the right) with two other individuals with the caption “Carrie Williams is
with Aaron Mileur.” The screenshot is provided below:




        As explained below, I believe the individual in the center of the photograph above, a
woman wearing a black baseball cap, black thick-rimmed glasses, and a black hooded
sweatshirt, is CARRIE ANN WILLIAMS. Further, I believe the individual on the left, a man
with a thin mustache wearing a black and purple Baltimore Ravens hat, a black-and-white
striped hood, and a black sweatshirt, is TYRONE MCFADDEN JR. In statements to law
enforcement, described further below, both WILLIAMS and Mileur stated that they were
cousins. Furthermore, both WILLIAMS and MCFADDEN stated that they both resided at
“1001 Cherry Hill Road” in Baltimore, Maryland and were engaged.


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       I have reviewed photos and video footage showing Mileur, WILLIAMS, and MCFADDEN
together inside and around the U.S. Capitol building on January 6, 2021. For example, a video
taken by a member of the crowd and obtained through an online FBI tip system shows an individual
wearing what appears to be the same black baseball cap, black thick-rimmed glasses, and black
hooded sweatshirt shown above, and who appears similar to the woman in Mileur’s Facebook post,
approaching the east side of the Capitol Building. The below screenshot shows that individual,
who I believe to be WILLIAMS, in the foreground, circled in red.




        As another example, among the materials provided by the tipster was a video the tipster
reported had been posted to Mileur’s Facebook account, which also shows the individuals believed
to be WILLIAMS and MCFADDEN inside the U.S. Capitol Building. Based on my review of the
video, it is believed that the footage was taken inside the Rotunda, the ceremonial heart of of the
U.S. Capitol. In that video, with screenshots excerpted below, WILLIAMS appears to be using
her cell phone to record the events inside the Capitol, and MCFADDEN can be seen with her.




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        Google records corroborate that WILLIAMS and MCFADDEN were present inside the
U.S. Capitol Building on January 6, 2021. According to records obtained through a search warrant
which was served on Google, mobile devices associated with the Google accounts
cwXXXX@gmail.com, which is registered to WILLIAMS, and tyXXXX@gmail.com, which is
registered to MCFADDEN, each utilized a cell site consistent with providing service to a
geographic area that included the interior of the U.S. Capitol building on January 6, 2021.

       I have also reviewed security camera footage (CCV) from inside the Capitol on January 6,
2021. This video footage shows Mileur, MCFADDEN, and WILLIAMS entering the U.S. Capitol
through the Rotunda Door at approximately 2:46 PM, as shown in the screenshot below:




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       Other CCV video from inside the U.S. Capitol show WILLIAMS, MCFADDEN, and
Mileur inside the Capitol Rotunda. The video shows WILLIAMS, MCFADDEN, and Mileur in
the Rotunda area from approximately 2:47 PM through 2:50 PM. Screenshots from the videos are
provided below. Based on my review of this footage, it appears to show the same area captured
by Mileur’s Facebook video provided by the tipster.




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       WILLIAMS, MCFADDEN, and Mileur are seen on video near the Rotunda Lobby and
subsequently exiting the Rotunda Door at approximately 2:51 PM. A screenshot of the video is
provided below:




       I have reviewed a ten-minute YouTube video, posted by the Young Patriots Society, and
available at https://www.youtube.com/watch?v=LeRYX4LOzYw, entitled “Storming the
Capitol,” with the caption, “We interviewed Trump supporters during the riot at the US Capitol
Building.” In this video, WILLIAMS and MCFADDEN, along with two other individuals, can be
seen speaking to an interviewer beginning at approximately 7:07 minutes, as shown below.




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The individual next to WILLIAMS reported, “We were definitely within the first 100-150 people
to get in that building,” to which WILLIAMS responded, “Yeah, we were too, we definitely were
too.” MCFADDEN then stated, “They were going to lock us in there, you know what I’m saying?
They bombed us twice.” At the conclusion of the interview, WILLIAMS stated, “We made it out
safe. We’re good. We made history. We was not expecting this mess at all today. But we did it.
We’re here. We’re still alive, we’re still kicking.”

        On March 9, 2021, WILLIAMS and MCFADDEN together were telephonically
interviewed by an FBI agent. They reported that they went to D.C. with Mileur on January 6, 2021.
WILLIAMS and MCFADDEN denied ever going into the U.S. Capitol Building but said that they
were close enough to see inside. Based on the video footage described above, I believe this was
false and that WILLIAMS and MCFADDEN were untruthful in that interview.

       Mileur was arrested in March 2021 for his participation in the riot at the U.S Capitol on
January 6. Mileur was interviewed by the FBI as part of the investigation. After being advised of
his Miranda rights, Mileur advised that he went to Washington, DC on January 6, 2021 with
MCFADDEN and WILLIAMS so he could hear President Trump speak. He also stated that
MCFADDEN, WILLIAMS and himself were inside the U.S. Capitol building.

       According to Facebook records, WILLIAMS is registered as Facebook user “Carrie
Williams,” with the username “mzcarriebabie1979,” currently living in Baltimore, Maryland. The
account is registered to the same Google email address referenced above, cwXXXX@gmail.com,
which is registered to WILLIAMS, and the same cell phone number which Google records


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indicate, as noted above, was present inside the U.S. Capitol building on January 6, 2021. I have
reviewed records from WILLIAMS’ and Mileur’s Facebook accounts. WILLIAMS’ account
includes multiple posts with photographs of WILLIAMS, MCFADDEN, and Mileur in
Washington, DC and near the U.S. Capitol on January 6, 2021. Some examples of mobile uploads
by WILLIAMS on January 6, 2021, at the times noted, are shown below:




            12:25 pm                         1:57 pm                        3:19 pm

WILLIAMS’s Facebook account also includes conversations with others, both before and after the
events of January 6, about the riot. For example, on February 8, 2021, one of WILLIAMS’s
Facebook contacts asked, “Wtf did you turn Tyrone [MCFADDEN] into? He fell completely apart
even more” and “Why yall down there representing Trump. He list all his mind.” WILLIAMS
responded with “His mind is just fine my cousin was here visiting and he qant to see trump speak
then all hell broke loose not cuz of us [sic].”

        The Facebook records also reveal conversations between WILLIAMS and Mileur. On
December 7, 2020, WILLIAMS provided Mileur with her address, confirming that she then
resided at the apartment on Cherry Hill Road in Baltimore, Maryland. Public records databases
confirm that MCFADDEN resided at the same address as of July 2020, which is also the address
he reported to the FBI in the March 2021 telephonic interview. In addition, I have reviewed the
driver’s licence photograph and a booking photograph of MCFADDEN taken incident to an April
2016 arrest, shown below, which resembles photos of MCFADDEN obtained from the Facebook
pages of WILLIAMS and Mileur and the video evidence discussed above.




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     2016 Booking photo of MCFADDEN                     January 6, 2021, photo uploaded to
                                                          WILLIAMS’s Facebook account

Based on all of this evidence, I believe WILIAMS and MCFADDEN are the same individuals
shown in numerous photos and videos traveling to and around the U.S. Capitol on January 6.

        The very next day after the riot, on January 7, 2021, WILLIAMS and Mileur discussed the
possible consequences of their actions and described taking down their Facebook posts. They had
the following exchange through Facebook:

               WILLIAMS: So the news said the government wants people to turn over any
                         videos of people who stormed the capital
               Mileur:   Dont
               WILLIAMS: Im not lol
               Mileur:   Have u taken it down yet
               WILLIAMS: Yes
                                               […]
               WILLIAMS: Still had a blast but calling us domestic terrorist
               Mileur:   I noticed
               WILLIAMS: Im not taking the pics down though

         Based on the foregoing, your affiant submits that there is probable cause to believe that
CARRIE ANN WILLIAMS and TYRONE MCFADDEN Jr. violated 18 U.S.C. § 1752(a)(1) and
(2), which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will



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be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that CARRIE ANN
WILLIAMS and TYRONE MCFADDEN Jr. violated 40 U.S.C. § 5104(e)(2)(D) and (G), which
makes it a crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress; and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Special Agent Jonathan Stewart
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 10th day of June 2022.                                 Zia M. Faruqui
                                                                       2022.06.10
                                                                       18:30:04 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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